Case 1:03-cv-01012-.]DT-STA Document 169 Filed 08/26/05 Page 1 of 4 Page|D 176

 

 

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IN THE UNITED STATES DISTRICT COURT { `j'\\
FOR THE WESTERN DISTRICT OF TENENSSMJUG ""‘DC,
EASTERN DIvIsIoN 26 pa 3
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iii it ¢’<* ~ if ifij
JOHN CONNELL and LUCY CONNELL, ) H'@ f§ f`” priwa
Plaintiffs, )
)
v. ) CIVIL ACTION NO. 1-03-1012-T
)
WEBB REALTY, INCORPORATED; JULE )
NANCE; BILLY N. WEBB, .]R.; ANNA )
WEBB; JAMES N. MAYS; KAY W. MAYS; )
And DIANNE MOORE, )
)
Defendants. )
ORDER

 

On the Motion of Plaintiffs John and Luey Connell, West Tennessee Legal Services, Inc.,
Carol Gish and J. C. Cox, and for good cause shown, the time for P]aintiffs John and Lucy
Connell, West Tennessee Legal Services, Inc., Carol Gish and J. C. COX to file a responsive
pleading to the Motion of Defendants Bi]ly N. Webb, Jr., Anna Webb, Ju]e Nance and Webb

Realty for an Award of Attorney’s Fees is extended through Oetober 31, 2005.

IT IS SO ORDERED.

di

DATED this the day of August, 2005.

Cla/H~MM

JA D. TODD
UN D STATES DISTRICT COURT JUDGE

This document entered on the dockets e l c mp|ianca
with Rule 58 and.’or,?S (a) FHCP on

Case 1:03-cv-01012-.]DT-STA Document 169 Filed 08/26/05 Page 2 of 4 Page|D 177

APPROVED FOR ENTRY:

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Jackson, Tennessee 383 01-1 595
Attorneyfor Plafntiffs‘

Case 1:03-cv-01012-.]DT-STA Document 169 Filed 08/26/05 Page 3 of 4 Page|D 178

CERTIFICATE OF SERVICE

I certify that l provided a opy of this ocument to the following attorneys of record via

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Agu_/.»»L, 2005.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 169 in
case 1:03-CV-01012 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

